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                        THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                                    )
     Consumer Financial Protection Bureau,          )
                                                    )
                            Plaintiff,              )     Civil Action No. 3:CV-17-00101
                                                    )     (Hon. Robert D. Mariani)
               v.                                   )
                                                    )
     Navient Corporation, et al.,                   )
                                                    )
                            Defendants.             )




     STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
      DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

          In accordance with Local Rule 56(a)(1) and in support of the Motion for

Partial Summary Judgment, Defendant Navient Solutions, LLC (“Navient”)

submits the following statement of undisputed material facts.

I.        FEDERAL REPAYMENT OPTIONS

          1.        Two federal loan programs are relevant to this motion: the Direct

Loan Program (“Direct Loans”) and Family Education Loan Program (“FFELP

Loans”).1 Both programs are overseen by the Department of Education (“ED”).2



1
 20 U.S.C. § 1087a et seq. (Direct Loan Program); 20 U.S.C. § 1071 et seq.
(FFELP Loan Program). In 2010, Congress terminated lending under FFELP. See
Health Care and Education Reconciliation Act, P.L. 111–152, § 2201 et seq. (Mar.
30, 2010).
2
    Id.
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         2.     The Higher Education Act (“HEA”) and ED regulations provide

several options for avoiding default, including forbearance, deferment, and

income-driven repayment (“IDR”) plans.3

         3.     Forbearance allows borrowers to temporarily stop making payments

or to cover past-due amounts.4 A borrower in forbearance can continue to make

regular payments; the forbearance means she will not be deemed delinquent if she

does not make payments.5

         4.     Repayment plans, including IDR plans, allow borrowers to change

their monthly payment amount for a period of time (and in the case of IDR, based

on the borrower’s income).6

         5.     Deferment allows borrowers in specific situations, like unemployment

or economic hardship, to temporarily stop making payments.7




3
  See Higher Education Act, Pub. L. No. 89–329, 79 Stat. 1219, 421–469 (1965)
(establishing federal student assistance programs); infra ¶¶ 3–21; Ex. 1 at 80:6–20
(one goal of program is to help borrowers avoid default), 44:9–13 (forbearance is
“tool” to address delinquency and default), 29:9–11 (repayment plans also keep
default rates down).
4
    See 34 C.F.R. §§ 682.211, 685.205 (2018).
5
    See id.; see also Ex. 39 at *5.
6
    See 34 C.F.R. §§ 682.215, 685.209, 685.221 (2018).
7
    See 34 C.F.R. §§ 682.210, 685.204 (2018).


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         6.    ED rules prevent a delinquent borrower from applying for IDR or

deferment. Unless the borrower can pay the past-due amount in full, the borrower

must use a forbearance to cover the past-due amount.8

         7.    Borrowers often request forbearance to allow time to complete the

IDR paperwork, which generally requires income information in the form of tax

returns or paystubs.9

         8.    Some borrowers in IDR still cannot manage their payments, and

request forbearance while in IDR.10

         9.    Servicers cannot enroll borrowers in IDR over the phone under ED

rules; borrowers must submit a written application and income information.11

         10.   Under federal law, servicers are “encourage[d] . . . to grant

forbearance for the benefit of a borrower . . . in order to prevent the

borrower . . . from defaulting.”12




8
 Ex. 1 at 80:6–20; Ex. 2 at 198:18–200:11; 34 C.F.R.
§§ 682.211(f)(14), 685.205(b)(2) (2018).
9
 See 34 C.F.R. §§ 682.211(f)(11), 685.205(b)(9) (2018). See also Ex. 2 at 203:6–
205:21.
10
     Infra ¶¶ 100, 115–17.
11
  See 34 C.F.R. §§ 682.215(e)(1)(i)–(ii), 685.221(e)(1)(i)–(ii) (2018). See also Ex.
1 at 89:16–22.
12
     34 C.F.R. § 682.211(a)(1) (2018).

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         11.   ED formulas determine whether borrowers are eligible for IDR based

on income and family size, along with federal poverty guidelines for the

borrower’s state.13

         12.   ED expanded IDR options during the alleged time period.14

         13.   Until July 2009, the only IDR plan available for Direct Loans was the

Income-Contingent Repayment (“ICR”) plan,15 and the only IDR plan available for

FFELP loans was the Income-Sensitive Repayment (“ISR”) plan.16

         14.   In July 2009, ED introduced the Income-Based Repayment (“IBR”)

plan for both FFELP and Direct Loans.17 The formula for determining eligibility

and payment amounts under the IBR plan enabled borrowers with higher incomes

than previously to qualify for the plan and offered lower monthly payment

amounts than previous IDR plans.18




13
     See, e.g., 34 C.F.R. §§ 682.215(b)(1), 685.221(b)(1) (2018).
14
     See infra ¶¶ 13–18. See also Ex. 2 at 108:4–9.
15
     See 34 C.F.R. § 685.209(b)(1)(ii) (2018).
16
     See 34 C.F.R. § 682.209(a)(6)(viii) (2018).
17
     See 73 Fed. Reg. 63232, 63248–59 (Oct. 23, 2008).
18
     See 34 C.F.R. §§ 682.215(b)(1), 685.221(b)(1) (2018).


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         15.   In November 2012, ED introduced the Pay As You Earn (“PAYE”)

plan for borrowers with Direct Loans issued on or after Oct. 1, 2011.19 With the

PAYE plan, ED once again raised the income threshold for determining eligibility

and calculating the borrower’s payment amount.20

         16.   Also in November 2012, ED enacted regulations implementing

statutory changes to the IBR plan for borrowers with Direct Loans issued after July

1, 2014, including revised eligibility criteria similar to the formulas used under the

PAYE plan.21

         17.   In December 2015, ED introduced for borrowers with Direct Loans

the Revised Pay As You Earn (“REPAYE”), which it intended to serve as a

“widely available income-contingent repayment plan.”22 Unlike prior plans,

borrowers do not have to demonstrate financial hardship to qualify for REPAYE;

instead, ED rules provide that all borrowers are eligible for the plan, with monthly




19
  77 Fed. Reg. 66087, 66136–40 (Nov. 1, 2012); 34 C.F.R. § 685.209(a)(1)(iii)
(2018).
20
     34 C.F.R. § 685.209(a)(2)(i) (2018).
21
  77 Fed. Reg. 66087, 66128–46 (Nov. 1, 2012); 34 C.F.R. § 685.221(a)(5)
(2018).
22
     80 Fed. Reg. 67204, 67204–5 (Oct. 30, 2015).


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payment amounts set according to the borrower’s income relative to the poverty

guidelines for the borrower’s family size and state.23

         18.   The introduction of these new options meant that between 2009 and

2015, millions of additional borrowers became eligible for at least one IDR plan.24

         19.   Certain types of loans (FFELP and Parent PLUS) remain ineligible for

certain IDR plans. FFELP loans are not eligible for either the PAYE or REPAYE

plan,25 and Parent Plus Loans (federal loans issued to the parents of undergraduate

students) are not eligible for any IDR plan.26

         20.   ED rules allow borrowers to enroll in forbearance after agreeing either

orally or in writing that they agree to pay the loan but are temporarily unable to

make scheduled payments.27 Borrowers can also enroll in forbearance by

submitting a request to the servicer over the Internet.28




23
     34 C.F.R. § 685.209(c)(2) (2018).
24
  77 Fed. Reg. 66087, 66089 (Nov. 1, 2012) (estimating 1.6 million borrowers for
the PAYE plan and 1 million borrowers for the revised IBR plan); 80 Fed. Reg.
67205, 67227 (Oct. 30, 2015 (estimating two million borrowers for the REPAYE
plan).
25
     See 34 C.F.R. § 682.209(a)(6)(iii) (2018).
26
     See 34 C.F.R. § 682.215(a)(2) (2018); 34 C.F.R. § 685.208(a)(1)–(2) (2018).
27
     See 34 C.F.R. § 682.211(a)–(c) (2018). See also Ex. 1 at 183:8–23.
28
     See Ex. 1 at 183:8–23.


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         21.    Interest also accrues while a borrower is enrolled in IDR (unless the

borrower is entitled to interest subsidies).29 Unpaid interest will be capitalized

under federal rules when a borrower is no longer enrolled in IDR.30

II.      NAVIENT PROVIDED INFORMATION ABOUT IDR TO BORROWERS

         22.    Navient provided the following information about IDR to borrowers

during the alleged time period:

         23.    For borrowers who started repaying their loans, Navient sent a letter

offering options to “make student loan payments more manageable,” including

“[p]ayments tied to your income.”31

         24.    Borrowers who expressed difficulty making payments received a

letter about the availability of IDR. For example, Navient letters stated that a

borrower could “[c]hange your [r]epayment [p]lan” to “Income-Related Plans,”

which offered “[m]onthly payments that can change annually as your income

changes.”32

         25.    For borrowers who fell behind on their payments, Navient sent notices

stating that “options may be available to help bring your account current,”




29
     See 34 C.F.R. §§ 682.215(b)(4), 685.221(b)(3) (2018).
30
     See 34 C.F.R. §§ 682.215(b)(5), 685.221(b)(4) (2018).
31
     See, e.g., Ex. 15 at *1.
32
     See, e.g., Ex. 21 at *3.


                                            7
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including “lower monthly payments provided through income-sensitive or income-

based repayment plans.”33

         26.    Borrowers who expressed an interest in IDR received a letter stating

how to apply.34

         27.    Borrowers approaching the end of a deferment or forbearance

received a notice asking whether the borrower had “looked into the government’s

income-driven repayment plans.” The notice stated: “These repayment options can

allow you to make monthly payments based on your current income. You could

even qualify for a payment of $0! It’s worth checking out!”35

         28.    In addition, several borrowers recalled visiting Navient’s website,

which has information about IDR displayed. Immediately below language cited by

the CFPB to prove “steering,”36 the website stated that Navient offered “standard,

graduated, income-sensitive, income-based, and extended repayment plans on

federal student loans.”37




33
     See, e.g., Ex. 47 at *45.
34
     See, e.g., infra ¶ 57; Ex. 15 at *2.
35
     See, e.g., infra ¶ 143; Ex. 3; Ex. 39 at *1 (emphasis in original); Ex. 63 at -7956.
36
     Compl. ¶ 39.
37
     See infra ¶¶ 181–82; Ex. 54 at *12.

                                             8
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III.     BORROWERS IDENTIFIED BY THE CFPB

         29.   Navient served the following interrogatory: “Identify each Navient

Borrower harmed by enrollment in a forbearance, as alleged in paragraph 146 of

the Complaint, and describe the injury suffered by that Borrower.”38

         30.   The CFPB initially did not identify any borrowers.39

         31.   The CFPB eventually identified thirty-two borrowers,40 many of

whom were found in a database of complaints borrowers had submitted to the

CFPB through a portal on the CFPB’s website.41

         32.   After Navient deposed three borrowers who admitted to receiving

IDR information, the CFPB withdrew fifteen borrowers from its list of potential

witnesses.42 The CFPB has since removed three additional borrowers.43




38
     Ex. 5 (Interrogatory #7).
39
  Ex. 4 at 83:13–84:20 (“I can’t name any individual borrowers . . . .”); Ex. 5
(Response to Interrogatory #7).
40
     Ex. 6 (Response to Interrogatory #7).
41
  See, e.g., Ex. 15 at *5; Ex. 30 at *17. Between July 21, 2011 and August 31,
2017, the CFPB handled more than fifty thousand complaints from student loan
borrowers. See Annual Report of the CFPB Student Loan Ombudsman (Oct.
2017), at 2, available at
https://s3.amazonaws.com/files.consumerfinance.gov/f/documents/cfpb_annual-
report_student-loan-ombudsman_2017.
42
     See Ex. 7 (Response to Interrogatory #7); Ex. 8 (Response to Interrogatory #7).
43
     See id.


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         33.   On December 5, 2018, the CFPB added one additional borrower.44

         34.   Navient has deposed the fourteen remaining borrowers identified prior

to December 2018.45

         35.   The CFPB did not interview any of the fourteen borrowers until after

filing its Complaint.46

         36.   Navient deposed the CFPB’s principal investigator, Theresa Ridder,

on November 6, 2018. Ms. Ridder could not answer the question “What is a

forbearance?”47 Nor could she identify the different IDR plans available under

federal law, describe how to apply for IDR (including whether it is possible to

apply for IDR over the phone), or explain the difference between subsidized and

unsubsidized loans.48

         37.   Navient searched its various call recording systems for calls between

the fourteen borrowers and Navient representatives that appeared to discuss

repayment options. Navient produced to the CFPB all calls it was able to locate on

its systems that related to repayment options for federal loans. By September




44
     See Ex. 9 (Disclosure I(B)).
45
     Infra ¶¶ 38–228.
46
     See Ex. 7 (Response to Interrogatory #1).
47
     Ex. 10 at 39:3–6.
48
     See id. at 38:13–21, 40:21–41:24, 41:5–24.


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2018, Navient also produced the borrowers’ correspondence histories to the CFPB

and offered to search for any recording the CFPB identified that had not been

produced. On December 7, 2018, the previous deadline for fact discovery, the

CFPB for the first time requested additional call recordings for particular

borrowers. Navient will produce available call recordings to the extent they relate

to repayment options.

         A.    Borrowers Informed About IDR, But Ineligible

               1.      CC
         38.   CC49 was repeatedly informed by Navient about IDR but did not

enroll and was too wealthy to qualify.50

         39.    In March 2016, a Navient phone representative asked CC about her

family size and income, and CC responded that her income was $450,000 per

year.51

         40.   When the representative told CC that this income was “just too high”

for “the income-based” plan, CC responded that her husband did not have any

income because of a recent health issue and that her income was “$4,000 per



49
  To preserve borrower privacy, the fourteen borrowers have been identified only
by their initials, and all personal identifying information has been redacted from
Defendants’ exhibits, including audio files.
50
     Infra ¶¶ 39–54.
51
     Ex. 11 at 187:19–24; Ex. 12 at *26 (lines 13–18).


                                           11
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month.”52 CC provided this information, which was not accurate, based on

instructions from her husband to “lie and deceive [Navient].”53

         41.   Based on this new information, the representative informed CC “If

you apply for the income-based, ma’am, the payments are not going to be

postponed but it’s going to be lowered to $145 a month for one year.” CC

responded “Oh, my God, thank you” and asked the representative to mail her an

application for the income-based plan.54

         42.   The representative sent an IDR application and processed a

forbearance “to give [CC] time to apply” for the income-based repayment plan.55

         43.   CC did not apply for the income-based plan at that time.56

         44.   In October 2016, CC told a Navient representative that her monthly

gross income was “about a thousand dollars.” The representative again told CC

about “the Income-Based Repayment Plan,” stating that CC was “qualified for a

zero dollar monthly payment” and that “any remaining balance of [her] loans may

be forgiven” after 25 years in the program.57



52
     Ex. 11 at 190:3–6; Ex. 12 at *26 (line 19) through *28 (line 20).
53
     Ex. 11 at 190:3–6.
54
     Ex. 12 at *32 (line 10) through *33 (line 16).
55
     Ex. 11 at 200:11–201:23; Ex. 12 at *35 (line 4) through *38 (line 21).
56
     Ex. 11 at 203:12–14.
57
     Id. at 234:13–236:14; Ex. 12 at *65 (line 8) through *66 (line 23).

                                            12
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         45.   CC then inquired about “other options” that did not require filling out

paperwork.58

         46.   The representative stated that all options would require a written

application and, at CC’s request, granted a sixty-day forbearance while CC decided

which option to pursue.59

         47.   CC (who is an attorney) later applied for and received an

unemployment deferment, despite being employed at the time and earning

$120,000 annually.60 According to CC, she obtained this deferment because she

was “buying time” and did not “really owe [Navient] any duty to be completely

truthful.”61

         48.   During calls with Navient in 2016, CC also claimed her husband had

died and that she needed a forbearance while she got her finances in order.62




58
     Ex. 11 at 234:13–236:14; Ex. 12 at *67 (line 8) through *70 (line 6).
59
     Ex. 12 at *70 (line 5) through *79 (line 23).
60
     Ex. 11 at 260:13–264:17; Ex. 12 at *90–93.
61
     Ex. 11 at 263:20–264:3.
62
  Id. at 213:10–214:10, 219:4–220:14; Ex. 12 at *47 (line 6) through *48 (line 4),
*64 (lines 11–24).


                                            13
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         49.    Records show that CC and her husband purchased a $1 million home

outside Chicago in 2012.63 CC’s husband is alive.64

         50.    CC also received a forbearance in March 2010 to resolve a past

delinquency and to allow time to enroll in an economic hardship deferment.65

         51.    Prior to that forbearance, Navient had sent her information about IDR

multiple times.66

         52.    CC was required to select a repayment plan when she consolidated her

FFELP loans in 2002, and she chose the standard payment plan, rather than the

income-sensitive payment plan.67

         53.    Letters Navient sent CC in April and June 2009 described the

availability of “income-sensitive repayment plans that can provide you with lower

monthly payments.”68

         54.    On March 7, 2010, Navient sent CC a notice that asked, “Need

smaller payments?” and stated that “Income-Sensitive Repayment allows for

payments based on a percentage of your income,” and “Income-Based Repayment



63
     Ex. 11 at 26:4–28:4.
64
     Id. at 26:4–28:4; 213:10–217:6.
65
     Ex. 12 at *9, *86–*87; Ex. 13 at -7301 through -7302.
66
     Infra ¶¶ 53–54.
67
     Ex. 11 at 144:22–145:12, 150:9–23; Ex. 12 at *1.
68
     Ex. 12 at *6, 8.


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determines your monthly payment amount by taking into account your income,

family size, and total amount borrowed.”69

                  2.    NN
           55.    Before his first payment was due, NN spoke to Navient

representatives on the phone twice in August 2009.70

           56.    On both occasions, the Navient representative checked NN’s

eligibility for IDR.71

           57.    On August 12, 2009, Navient sent NN a letter stating, “Thank you for

your interest in an Income-Based Repayment (IBR) plan” that included an

application form and instructions for how to apply for the plan.72

           58.     NN did not apply and instead requested forbearance when he

subsequently fell behind on his payments.73

           59.    In 2010, NN began working at a bank, where he now provides wealth

management services.74




69
     Id. at *9.
70
     Ex. 14 at 67:25–69:23; Ex. 16 at -7333 through -7336.
71
     Id.
72
     Ex. 14 at 66:3–67:5; Ex. 15 at *2–4.
73
     Ex. 14 at 69:24– 72:7; Ex. 16 at -7333 through -7336, -7350.
74
     Ex. 14 at 25:6–26:21, 31:7–32:2.


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         60.   Since then, his FFELP loans were “not eligible for income-based

repayment programs” because he was “a single, no-dependent [individual] that had

little debt-to-income.”75

         61.   NN specifically remembered discussing IDR “in a telephone

conversation” with Navient at some point in 2012,76 but he “simply didn’t qualify”

because of his income.77

         62.   NN does not remember what repayment options were discussed on

calls with Navient representatives between 2009 and 2012,78 but he does remember

that on calls during that time, he was asked about “how much [he was] earning and

[his] family size.”79

         63.   NN received information about IDR multiple times prior to 2012. For

example, in July 2009, Navient sent him a notice that described the availability of

“several repayment options that help make student loan payments more

manageable,” including Income-Based Repayment, which offered payments based




75
     Id. at 94:16–95:13.
76
     Id. at 79:11–80:15.
77
     Id. at 88:14–22.
78
     Id. at 76:3–17.
79
     Id. at 83:9–87:6.


                                          16
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on “your income, your family size and total outstanding balance of eligible

loans.”80

         64.   NN admitted at his deposition that his “situation” was “outside the

scope of the CFPB complaint,” because his complaint was focused on the lack of

repayment options available for his private loans.81

               3.    AS

         65.   AS testified that she knew about IDR options “throughout the life of”

her FFELP loan because she “researched all the options that were available” and

called Navient to discuss those options.82

         66.   AS enrolled in forbearances because she “did not qualify” for IDR

options.83

         67.   At one point, AS used an online tool where “she input[] various

information to determine if [she] qualified for an income-driven repayment plan”

and confirmed that she was not eligible.84




80
     Ex. 14 at 59:4–18; Ex. 15 at *1; Ex. 16 at -7332 through -7333.
81
     Ex. 14 at 140:8–141:24.
82
     Ex. 17 at 97:4–98:10.
83
     Id. at 99:12–13, 125:22–128:10.
84
     Id. at 116:21–117:10.


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         68.    During her deposition, AS would not provide specific information

about either her income or her husband’s income during the alleged time period.85

         69.    Navient sent AS information about IDR on multiple occasions. For

example, in July 2010, Navient sent AS a letter containing “a list of options for

which you might qualify on your federal student loan(s),” including Income-Based

Repayment, which provided “a reduction in your monthly payment . . . based on a

federal formula that considers your income and family size.”86

         70.    Navient sent AS similar letters in August 2011 and June 2012.87

                4.    CP

         71.    CP was often delinquent on her payments.88 She often received

forbearances to bring her account current.89

         72.    Before and after receiving forbearances, CP received information

about IDR on multiple occasions.90




85
     Id. at 62:22–63:5, 73:17–21, 75:21–78:19.
86
     Ex. 17 at 126:6–127:14; Ex. 18 at *1–3.
87
     Ex. 17 at 136:4–137:7, 144:14–145:10; Ex. 18 at *4–7.
88
     See, e.g., Ex. 20 at *2, *4, *19, *26; Ex. 21 at *10, *12, *25.
89
  Ex. 22 at -7236 through -7237, -7240 through -7241, -7244 through -7245, -
7256, -7260, -7266 through -7267.
90
  E.g., Ex. 20 at *8–9, *12, *15–17, *19, *21–22, *25, *28, *35, *37; Ex. 21 at
*1–2, *3, *4, *6, *7.


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         73.       For example, on November 27, 2009, she received a notice that she

was past due and advising her that she “may be eligible for reduced payment

options, such as interest-only payments, income-based repayment and income-

sensitive repayment.”91

         74.       On October 20, 2010, Navient sent CP a notice asking “Want to lower

your payments?” and explaining that “Sallie Mae offers . . . several repayment

options that help make payments more manageable,” including “Income-based

repayment with payments that are tied to your income, family size, and total

outstanding balance of eligible loans.”92

         75.       On December 10, 2010, Navient sent information about Income-

Sensitive Repayment and Income-Based Repayment.93

         76.       She received a similar letter at least six times.94

         77.       CP confirmed at her deposition that such documents “inform[ed] [her]

of a variety of repayment options,” “[i]ncluding payments that are tied to your




91
     Ex. 20 at *12.
92
     Id. at *25.
93
     Id. at *28; Ex. 19 at 128:19–131:18.
94
     Ex. 20 at *28; Ex. 21 at *3, *22, *23, *27, *30.


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income.”95 CP also “recall[ed] inquiring about . . . payments that are tied to my

income” sometime after 2011.96

         78.   In November 2013, a Navient representative asked CP on the phone

“[w]hat if we lower down your regular monthly payments to something you can

afford on a monthly basis?”97

         79.   CP stated that she did not want to pursue that option, and she declined

to answer questions about her financial circumstances.98

         80.   Although Navient sent CP another notice about IDR that same day,99

she did not apply at that time.100

         81.   CP later applied for IDR in 2015 but was denied because her

consolidated Parent PLUS loan was ultimately ineligible.101

         82.   CP re-applied and was again denied on April 13, 2015, this time

because she did not meet the “federal definition of ‘partial financial hardship.’”102




95
     Ex. 19 at 99:17–102:2, 113:14–115:17; Ex. 20 at *1, *7.
96
     Ex. 19 at 102:7–15.
97
     Ex. 19 at 191:14–193:5, 205:16–208:4; Ex. 21 at *19 (lines 1–3).
98
     Ex. 19 at 191:14–193:5, 205:16–208:4; Ex. 21 at *19 (lines 4–18).
99
     Ex. 19 at 209:17–210:19; Ex. 21 at *22.
100
      Ex. 22 at -7284 through -7286.
101
      Ex. 21 at *29; Ex. 22 at -7295 through -7297.
102
      Ex. 21 at *32.


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         83.   CP submitted a sworn declaration to the CFPB stating that Sallie Mae

only told her about forbearance and enrolled her loans in forbearance in January

2011.103

         84.   CP testified that she was unsure whether she discussed applying for an

unemployment deferment with Navient in January 2011. CP in fact submitted an

unemployment deferment application to Navient on January 5, 2011.104

         85.   CP testified that she did not know the difference between an

unemployment deferment and forbearance when she submitted her declaration.105

         B.    Borrowers Who Enrolled in IDR

               1.        FB

         86.   Navient began servicing FB’s loans in August 2011, when they were

transferred from another servicer.106

         87.   In August 2011, a Navient representative checked whether FB was

eligible for IDR during a phone call.107




103
      Ex. 23 ¶ 5.
104
      Ex. 19 at 138:8–147:18; Ex. 20 at *33.
105
      Ex. 19 at 144:15–145:7, 146:9–19.
106
      Ex. 24 at 35:3–36:12; Ex. 25 at *1.
107
      Ex. 27 at -9386.


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         88.    Afterwards, Navient sent her information about “Income-Related

Plans (Income-Based and Income Sensitive) – Monthly payments that can change

annually as your income changes.”108

         89.    FB did not apply,109 and instead chose to enroll in another forbearance

in October 2011.110

         90.    Before that forbearance period ended, in August 2012, FB called

Navient. During that phone call, a Navient representative checked whether FB was

eligible for IDR.111

         91.    Following that phone call, Navient sent FB a letter stating, “Thanks

for your interest in an Income-Based Repayment (IBR) Plan,” along with an

application and instructions on how to apply.112 FB instead applied for an

economic hardship deferment, which was denied because she did not meet the

federal requirements.113




108
      Ex. 24 at 36:22–39:16; Ex. 25 at *3.
109
      Ex. 27 at -9386 through -9387.
110
      Ex. 25 at *5.
111
      Ex. 27 at -9390.
112
      Ex. 24 at 44:10–47:3; Ex. 25 at *9.
113
      Ex. 24 at 47:13–53:14; Ex. 25 at *17, *24.


                                             22
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         92.   At that time, FB requested a forbearance online without speaking to

Navient.114

         93.   Between August 2011 and August 2013, Navient sent her information

about IDR at least nine times.115

         94.   FB admitted in her deposition that such letters “informed [her] about

income-related repayment plans.”116

         95.   On March 29, 2013, FB discussed IDR on the phone with a Navient

representative, who informed FB that her “remaining balance will be forgiven”

after “25 years of being in an income-based repayment [plan].”117 The

representative explained that FB could go to studentloans.gov to apply for the

plan.118

         96.   On June 14, 2013, and July 26, 2013, FB spoke to Navient

representatives, who did not discuss IDR during the calls. FB did not receive a

forbearance on either call.119




114
      Ex. 25 at *26; Ex. 27 at -9391 through -9392.
115
      Ex. 25 at *3–4, *8, *16, *23, *25, *37–39.
116
      Ex. 24 at 41:16–20; Ex. 25 at *4.
117
      Ex. 24 at 61:6–25; Ex. 25 at *33 (lines 3–5).
118
      Ex. 25 at *34 (lines 16–17).
119
      Ex. 24 at 111:12–113:15, 114:8–115:22; Ex. 27 at -9393 through -9394.


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         97.   FB admitted in her deposition that she was “informed about income-

based repayment options prior to . . . [the] two calls” that took place on June 14,

2013 and July 26, 2013.120

         98.   A Navient representative again checked FB’s eligibility for IDR

during a phone call on August 20, 2013, and the same day Navient sent FB another

IDR application.121

         99.   In August 2013, FB applied for IDR, and she was approved in

September 2013.122

         100. The same month that FB enrolled in IDR, FB told a Navient

representative that Navient had “tried to do that IBR, in which the payment is still

not low enough.”123 FB requested forbearances while enrolled in IDR.124

               2.     UE

         101. The only forbearances UE ever received from Navient were to provide

her time to complete an IDR application.125




120
      Ex. 24 at 128:11–14.
121
      Ex. 25 at *40; Ex. 27 at -9395.
122
      Ex. 24 at 65:8–66:11, 69:9–70:12; Ex. 25 at *42, *47.
123
      Ex. 24 at 71:2–73:8; Ex. 26 at *3 (lines 23–24).
124
   Ex. 24 at 71:2–73:14; 79:17–81:25, 82:10–83:16, 86:2–93:22; Ex. 26 at *2 (line
16) through *3 (line 14), *9, *10, *17 (line 8) through *22 (line 2).
125
      See infra ¶¶ 111–113.


                                           24
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         102. Although UE received forbearances from her prior loan servicer, 126

UE regularly made payments for several years after Navient started servicing her

loans in September 2011.127

         103. On October 23, 2013, a Navient representative told UE about “an

income-based repayment plan where we can lower the monthly payment amount

based [on] your income.”128

         104. UE acknowledged in her deposition that by October 23, 2013,

“[Navient] had informed [her] about income-based repayment plans.”129

         105. UE asked the representative to “send [her] the paperwork.”130 Navient

mailed her an IDR application the same day.131

         106. UE did not return the application and continued to make regular

payments on her student loans.132




126
      Ex. 28 at 41:5–9; Ex. 29 at *3.
127
      Ex. 28 at 48:5–9, 49:22–24; Ex. 29 at *4; Ex. 31 at -6613 through -6655.
128
      Ex. 29 at *12 (line 19) through *13 (line 4).
129
      Ex. 28 at 55:5–9.
130
      Ex. 29 at *14 (lines 15–18).
131
      Id. at *17–23; Ex. 28 at 55:14–56:3.
132
      Ex. 28 at 58:2–15.


                                             25
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         107. In 2015, UE engaged a third-party company to work with Navient to

obtain a reduced payment plan.133

         108. On December 31, 2015, an individual working for that third party

contacted Navient, claimed to be UE, and provided UE’s personal information,

including her birthdate. On that call, the Navient representative described the IDR

application process and processed a two-month forbearance to allow time to

apply.134

         109. In early 2016, Navient received an IDR application for UE dated

December 31, 2015, but the application was incomplete.135

         110. On January 20, 2016, Navient sent UE a letter stating that it could not

process her IDR application because it did not include the required income

documentation.136

         111. UE called Navient herself on April 15, 2016 and confirmed that she

had previously applied for IDR “through a third-party company” that “took [her]

money.”137 On that call, the Navient representative explained that UE could apply




133
      Id. at 59:4–15.
134
      Id. at 58:16–63:24; Ex. 29 at *25 (line 24) through *29 (line 17).
135
      Ex. 28 at 64:15–67:13; Ex. 29 at *32–37.
136
      Ex. 28 at 71:3–72:7; Ex. 29 at *38.
137
      Ex. 28 at 72:25–74:6; Ex. 30 at *3 (line 22) through *4 (line 2).

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for IDR directly at studentloans.gov. The representative processed a two-month

forbearance to “give [UE] some time to get that information over to [Navient].”138

         112. UE applied for IDR and was approved on August 4, 2016.139

         113. Although UE had complained about forbearances she received from

Navient, she admitted in her deposition that she may have confused Navient with

her prior servicer.140

                3.    VH

         114. VH and her husband enrolled in IDR in December 2012.141

         115. The couple continued to request forbearance while enrolled in IDR.142

         116. In April 2013, the couple requested to be removed from IDR, and then

requested a forbearance, but did not qualify.143

         117. The couple subsequently reenrolled in IDR but missed several

monthly payments.144




138
      Ex. 30 at *4 (line 11) through *5 (line 13).
139
      Ex. 28 at 81:6–8, 82:11–25; Ex. 30 at *15.
140
      Ex. 28 at 40:11–41:11, 84:8–88:21; Ex. 30 at *174.
141
      Ex. 32 at 118:6–24; Ex. 33 at *14–15.
142
      Ex. 32 at 119:1–120:6; Ex. 34 at -6100.
143
      Ex. 32 at 134:7–137:19; Ex. 33 at *16–17.
144
      Ex. 32 at 137:20–139:11, 141:18–145:21; Ex. 33 at *33.


                                            27
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         118. Prior to enrolling in IDR in December 2012, Navient had informed

VH about IDR on multiple occasions.145

         119. From 2009 through 2011, Navient on at least four occasions sent VH

information about Income-Based Repayment, under which she could potentially

qualify for a reduction in her monthly payment based on “a federal formula that

considers your income and your family size,” including once on November 9,

2009.146

         120. VH confirmed at her deposition that such letters “inform[ed]” her and

her husband about “repayment options based on income.”147

         121. VH “did not remember” whether “Sallie Mae or Navient discussed

income-driven repayment options” during phone calls between 2009 and 2011.148

VH remembers calls during that period during which Navient representatives asked

her “questions about household size and income . . . to determine what repayment

options might work for [her].”149




145
      See infra ¶¶ 119–120.
146
      Ex. 32 at 85:24–89:2; Ex. 33 at *1, *4, *7, *10, *13.
147
      Ex. 32 at 93:19–94:18; Ex. 33 at *4.
148
      Ex. 32 at 22:5–15; see also id. at 18:24–19:13, 73:11–78:15, 84:19–85:23.
149
      Id. at 187:5–188:12.


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               4.    MP

         122. MP enrolled in IDR in October 2013, and apart from short gaps when

information was required to verify his income, he has been enrolled in IDR ever

since.150

         123. Prior to enrolling, Navient sent MP information about IDR on

multiple occasions.151

         124. When he consolidated his FFELP loans in 2005, MP selected a

standard repayment plan from a list of options that included income-sensitive

repayment.152

         125. On October 18, 2010, after speaking to a Navient representative on

the phone, Navient sent MP a letter stating, “Thank you for your interest in an

Income-Sensitive Repayment (ISR) Plan,” along with an application and

instructions on how to apply.153




150
      Ex. 35 at 78:1–18; Ex. 37 at -8937 through -8990.
151
      Infra ¶¶ 124–130.
152
   Ex. 35 at 29:8–31:12; Ex. 36 at *1–3. MP brought documents to his deposition,
many of which were marked as exhibits and therefore lack Bates numbers. See Ex.
35 at 39:4–39:12.
153
      Ex. 35 at 47:20–49:25; Ex. 36 at *16–19.


                                          29
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         126. That day, Navient approved a forbearance to cover past-due amounts

and provided two additional months of forbearance, which allowed MP time to

apply for IDR.154

         127. MP did not apply for IDR at that time.155

         128. MP missed monthly payments from December 2010 to February 2011

and received a forbearance to cover the past-due amount and additional

forbearance time.156

         129. In February 2011, MP also received a letter listing Income-Based

Repayment and stating, “you may qualify for a reduction in your monthly payment

under this plan . . . based on a federal formula that considers your income, state of

residence and your family size.” From October 2010 to October 2013, MP

received information about IDR at least six times.157

         130. MP acknowledged at his deposition that such letters “inform[ed]

[him] of the existence of income-related repayment plans.”158

         131. In 2011 or 2012, MP’s wife also researched IDR.159



154
      Ex. 36 at *20.
155
      Ex. 35 at 49:23–50:4.
156
      Ex. 36 at *23, *37; Ex. 37 at -8928 through -8929.
157
      Ex. 35 at 61:16–63:9; Ex. 36 at *10, *34-35, *40, *42-43, *62.
158
      Ex. 35 at 64:20–65:10; Ex. 36 at *10, *34, *40.
159
      Ex. 35 at 93:14–99:10; Ex. 36 at *25, *41.


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         132. On September 6, 2012, a Navient representative again checked MP’s

eligibility for IDR options while speaking with him on the phone.160

         133. MP did not apply for IDR at that time.161

         134. MP does not remember any specific calls he had with Navient

between 2009 and 2012, or what options Navient representatives may have

discussed on those calls.162

         135. MP recalls having conversations with Navient representatives

between 2009 and 2012 in which he would “review with them what are the options

and discuss each one,” including whether he could “literally afford that monthly

obligation” based on his other expenses.163

         136. Following these conversations, MP would decide that “deferment and

forbearance” were the options he “could handle at that time.”164

         137. On September 24, 2013, a Navient representative again checked MP’s

eligibility for IDR while speaking with him on the phone.165 Following this phone




160
      Ex. 37 at -8932.
161
      Id. at -8392 through -8933; Ex. 35 at 65:19–68:22.
162
      Ex. 35 at 33:25–34:12, 36:12–22, 39:1–3, 59:23–60:4, 65:19–21.
163
      Id. at 68:14–22, 71:17–24.
164
      Id. at 68:14–22.
165
      Id. at 72:9–73:5, 75:21–77:25; Ex. 37 at -8936.

                                           31
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call, Navient again sent MP a letter stating, “Thanks for your interest in an Income-

Based Repayment (IBR) Plan” and instructions on how to apply.166

         138. In October 2013, MP applied for and was approved for an IDR

plan.167

               5.        JB

         139. JB enrolled in IDR in December 2016.168

         140. Four months prior, in August 2016, JB spoke to a Navient

representative about obtaining additional deferment time.169

         141. JB did not have any additional deferment time available to him, and

he enrolled in a forbearance.170

         142. Before and after the August 2016 phone call, JB received information

about IDR on multiple occasions.171

         143. JB produced an email he received on June 8, 2016, which asked

whether he had “looked into the government’s income-driven repayment plans for

federal loans.” In bold, purple text, the email said, “You could even qualify for a



166
      Ex. 35 at 75:19–76:19; Ex. 36 at *44.
167
      Ex. 35 at 78:1–18; Ex. 36 at *51; Ex. 37 at -8937.
168
      Ex. 38 at 214:17–215:14; Ex. 39 at *13.
169
      Ex. 42 at -6513.
170
      Id.; Ex. 38 at 186:12–187:22.
171
      Infra ¶¶ 143–146.


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payment of $0!” The e-mail then provided instructions for applying on

studentloans.gov.172

         144. By the time he called Navient in August 2016, JB had received this

email at least eight times.173

         145. JB remembered receiving e-mails similar to the June 8, 2016 message

he received from Navient.174

         146. On August 12, 2016, Navient sent JB an e-mail with the subject line

“Here are some payment options that may help you.” The top of the e-mail stated,

“[JB], we have payment options that may help you.” The body of the e-mail

thanked JB for his recent phone call and stated, “[a]s a follow-up, we want to be

sure you know about additional repayment options,” including the option to

“reduce your monthly payments for twelve months based on your income and

other factors.”175




172
      Ex. 38 at 154:24–163:24; Ex. 39 at *1.
  Ex. 38 at 164:4–14; Ex. 40 at -6042 through -6045 (X558 – EXIT
173

DUAR/DUEM EMAIL SNT).
174
      Ex. 38 at 164:13–15.
175
      Ex. 38 at 194:9–198:13; Ex. 39 at *10–11 (emphasis in original).


                                           33
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         147. Prior to receiving forbearance in August 2016, JB had received

unemployment and hardship deferments online from December 2011 to July 2016,

without speaking to a Navient representative.176

         148. During his deposition, JB declined to answer whether he was

unemployed while he was enrolled in unemployment deferment.177 When asked

about his financial circumstances or employment history, he invoked the Fifth

Amendment or otherwise declined to answer.178

         149. The declaration JB signed on August 24, 2017, omitted the fact that he

received multiple written notices about IDR, including a notice Navient sent at the

same time it sent confirmation of JB’s enrollment in forbearance.179 At his

deposition, JB testified that the CFPB investigator who drafted his declaration had

only requested notices related to forbearance.180




176
      Ex. 38 at 126:17–127:5, 138:13–140:24; Ex. 40 at -6037 through -6045.
177
      Ex. 38 at 127:6–134:3.
178
      Id. at 10:16–20:21; 76:8–78:24, 80:20–25; 127:6–22; 133:18–134:13; 135:4–6.
179
      See Ex. 41.
180
      Ex. 38 at 241:20–242:7, 248:8–25.

                                          34
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                6.    GJ

         150. GJ was enrolled in IDR from May 2011 through August 2015, at

which point he was no longer eligible under ED formulas because his income had

increased.181

         151. GJ enrolled in one forbearance before May 2011.182

         152. GJ does not remember the other repayment options discussed on the

call where he enrolled in forbearance.183

         153. Before the call, GJ received a letter stating that Navient “offers

several repayment options that help make payments more manageable,” including

Income-Sensitive Repayment and Income-Based Repayment.184

         154. After he was no longer eligible for IDR, he requested another

forbearance.185




181
    Ex. 43 at 111:9–16, 129:6–8, 130:11–134:9, 140:20–141:8; Ex. 44 at *14, *23
(line 19) through *24 (line 2).
182
      See Ex. 45 at -6724.
183
      Ex. 43 at 104:23–105:3.
184
      Ex. 43 at 93:4–95:4; Ex. 44 at *1.
185
    Ex. 43 at 139:3–141:25; Ex. 44 at *15, *23 (line 19) through *25 (line 14), *29
(lines 4–20).


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         155. Because GJ did not pay accrued interest during the three years he was

enrolled in IDR, his unpaid interest capitalized when he was no longer enrolled, as

required by federal regulations.186

         156. This increased his principal by more than $3,000.187

         157. GJ complained to Navient that IDR had actually increased his

balance. He told the representative that he had been “screwed” by IDR and that

the program was “stupid as f***.”188

         C.    Borrowers Who Avoided Efforts to Inform Them About IDR

               1.      RD
         158. RD received information about IDR on multiple occasions.189

         159. When RD took out FFELP loans, she signed a promissory note that

described IDR.190

         160. On February 12, 2009, before her first payment was due, Navient sent

RD a letter stating that Navient “offers several repayment options that help make




186
      Ex. 43 at 135:6–136:24; Ex. 44 at *12. See infra ¶ 21.
187
      Ex. 44 at *12.
188
      Ex. 43 at 135:6–136:24; Ex. 44 at *39 (line 19) through *41 (line 12).
189
      Infra ¶¶ 159–162, 165–166.
190
      Ex. 46 at 101:8–104:19; Ex. 47 at *1–4.


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student loan payments more manageable,” including “payments that are tied to

your income.”191

         161. In April 2009, RD was delinquent on her loans, and Navient sent a

notice that asked, “NEED SMALLER PAYMENTS?” and went on to state that

“Income-Sensitive Repayment allows for payments based on a percentage of your

income.”192

         162. On September 20, 2009, after speaking to RD on the phone, Navient

sent RD a letter stating, “Thank you for your interest in an Income-Based

Repayment (IBR) Plan,” along with an application and instructions for how to

apply.193

         163. RD did not apply for IDR during that time.194

         164. RD missed several payments on her student loans while consistently

making payments on two luxury automobiles.195




191
      Ex. 46 at 122:1–8; Ex. 47 at *5.
192
      Ex. 46 at 130:5–132:9; Ex. 47 at *8–9.
193
      Ex. 46 at 142:10–146:14; Ex. 47 at *19–21.
194
      Ex. 46 at 146:15–147:5.
195
      Id. at 86:24–88:2, 180:17–182:6.


                                          37
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         165. From 2009 to 2015, Navient sent RD information about IDR at least

thirty-six times.196 In particular, when RD expressed difficulty making payments

to Navient phone representatives, Navient sent a letter stating, “Important

Information – Please Read.” The letter listed available options, including

“Income-Related Plans (such as Income-Based and Income-Sensitive) [which]

allow monthly payments that can change annually as your income changes.”197

         166. RD acknowledged in her deposition that “from 2010 through 2014,

[Navient] sent [her] multiple letters with information about income-based

repayment options.” She testified she did not “pursue [an IDR plan] because [she]

had the best one, forbearance.”198

         167. Navient also attempted to reach RD by phone when she was

delinquent, but on several occasions, she did not answer or hung up.199

         168. A Navient representative reached her on April 1, 2014. RD confirmed

that, during that call, the representative said she wanted “to see what options [RD]

qualified for” but she could not do that unless RD “told [the representative] her




196
  Ex. 47 at *8–9, *11, *13, *16, *22, *24, *27, *30, *32, *35, *37, *40, *42, *45,
*47, *48; Ex. 48 at *1, *4, *6, *7, *8, *10, *13, *15, *16, *19–*21, *23, *25, *38,
*39, *42; Ex. 49 at *10, *12.
197
      See, e.g., Ex. 48 at *19.
198
      Ex. 46 at 169:17–170:4.
199
      Ex. 51 at -7604 through -7672.

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monthly income.”200 RD did not provide the information requested by the

representative and asked if she could “call [Navient] back at another time.”201 RD

did not call Navient back.202

         169. In August 2014, RD requested a forbearance online, without speaking

to a Navient representative.203

         170. Navient again contacted RD on October 17, 2014. The representative

explained that he could “prequalify [RD] for options,” but when he asked for RD’s

“gross monthly income,” RD asked if she could call him back. RD did not provide

income information despite the representative explaining repeatedly that he was

“trying to check on [her] options.”204

         171. On August 28, 2015, a Navient representative again contacted RD.205

         172. RD explained that she was not working, and the representative pre-

qualified her for “a zero dollar amount” under the “income-based program,” stating




200
      Ex. 46 at 182:25–187:13.
201
      Ex. 48 at *33 (line 7) through *34 (line 22).
202
      Ex. 46 at 187:23–25; Ex. 51 at -7646 through -7648.
203
      Ex. 51 at -7649.
204
    Ex. 46 at 205:19–207:17; Ex. 49 at *3 (lines 20–22), *6 (line 12) through *7
(line 25).
205
      Ex. 46 at 213:16–214:15; Ex. 51 at -7661 through -7663.


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that under that program “your loans are forgiven at the end of that 25 years as long

as you’re making payments—even if they happen to be a zero dollar payment.”206

         173. The representative processed a forbearance to cover past-due

payments and sent RD an IDR application.207

         174. RD did not apply for IDR at that time.208

         175. In October 2015, a Navient representative again sent an IDR

application after speaking with RD on the phone.209

         176. RD applied for unemployment deferment through February 2017.210

         177. RD testified that “from 2010 to 2015, [she] was not focused on [her]

school loans,” and “if [she] didn’t get on an income-based repayment plan back

then, it wasn’t intentional.”211

         178. On August 18, 2017, RD signed a declaration drafted by the CFPB

stating that Navient had consistently informed her that her “best and only




206
      Ex. 46 at 213:16–19; Ex. 49 at *17 (lines 4–16).
207
      Ex. 49 at *21 (lines 4–7), *25–36.
208
      Ex. 46 at 225:9–18.
209
      Id. at 228:20–24, 241:8–25; Ex. 50 at *10 (lines 4–8), *14–25.
210
      Ex. 46 at 243:6–244:19, 322:14–323:1; Ex. 50 at *26–29.
211
      Ex. 46 at 194:5–10.


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repayment option . . . was forbearance” and that she learned about the IBR plan

only after completing her “own research in 2015.”212

         179. When asked about inconsistencies between her declaration and

recordings of her phone calls with Navient, RD explained that she did not

“intentionally lie” by signing the declaration because she “didn’t remember” the

calls in which Navient informed her about IDR options.213

               2.     ZB

         180. ZB received information about IDR on multiple occasions.214

         181. Although ZB testified that she did not remember whether she read

about IDR options on the Sallie Mae website, she testified that she had visited the

website215 and “would have” clicked on a link entitled “Repaying your student

loans.”216

         182. At that time, Sallie Mae’s website included information about IDR

plans on a page entitled “Repaying your student loans.”217




212
      Ex. 46 at 314:18–20; Ex. 52 at ¶¶ 7–8.
213
      Ex. 46 at 217:9–17.
214
      Infra ¶¶ 181–182, 185–188, 193–194, 197–198, 200.
215
      Ex. 53 at 83:12–18.
216
      Id. at 83:19–84:15.
217
      Id. at 83:19–85:13; Ex. 54 at *12.


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         183. When Navient began servicing her Direct loans in April 2012, she had

defaulted on them.218

         184. For her FFELP loans, ZB did not have a payment due until May 2011

because she had been in an in-school deferment and a grace period.219

         185. On February 10, 2011, Navient sent a notice asking, “Want to lower

your scheduled payments?” and stating that Navient “offers several repayment

plans,” including Income-Sensitive Repayment and Income-Based Repayment.220

         186. ZB was delinquent on her loans from 2011 to 2014 on multiple

occasions, and she received delinquency notices offering IDR at least twenty-two

times.221

         187. In December 2011, Navient sent a letter notifying ZB that she was

close to default and stating that she “may still be eligible for . . . repayment plans

such as income-sensitive and income-based repayment.”222




218
      Ex. 53 at 182:8–183:2; Ex. 55 at *1, *4.
219
      Ex. 53 at 79:15–81:3; Ex. 54 at *16.
220
      Ex. 53 at 75:9–23; Ex. 54 at *14.
221
  See, e.g., Ex. 54 at *18, *20, *23, *25, *27, *31; Ex. 55 at *7, *11, *14, *16,
*19, *22, *24, *26, *28, *31, *34, *37, *39, *42, *44.
222
      Ex. 54 at *31.


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         188. ZB confirmed that she “read letters from [Navient]” and that

“[Navient] informed [her] about income-related plans.”223

         189. Navient representatives attempted to reach ZB on the phone, but ZB

on several occasions did not answer or hung up on representatives.224

         190. In February 2012, ZB’s loans were 254 days delinquent and she was

nearing default.225 At that time, ZB spoke with a Navient representative, who

processed a forbearance to bring her account current.226 The representative also

sent ZB an application for unemployment deferment and processed a forbearance

of twenty-one days that provided time “to fill out the unemployment deferment

request.”227

         191. ZB did not apply for an unemployment deferment at that time.228

         192. ZB does not remember the repayment options she discussed with

Navient between 2011 and 2016.229




223
      Ex. 53 at 76:5–9, 111:7–9, 116:16–23.
224
      See, e.g., Ex. 57 at -6832, -6837, -6843, -6865, -6874.
225
      Id. at -6828; Ex. 54 at *33.
226
      Ex. 53 at 112:2–113:9; Ex. 54 at *35; Ex. 57 at -6827 through -6828.
227
      Ex. 53 at 112:2–113:22; Ex. 54 at *38–42, *35; Ex. 57 at -6827 through -6828.
228
      Ex. 57 at -6827 through -6828.
229
      Ex. 53 at 101:4–102:10.


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         193. On January 12, 2015, ZB spoke to a Navient representative who told

her that she was “pre-eligible for zero dollar monthly payments with the income-

based repayment program.” The representative sent ZB an IDR application and

also stated that she could apply at studentloans.gov.230

         194. The representative processed a forbearance effective until March 14,

2015, and stated that ZB “would need to get that [IDR] application turned in before

then” to avoid going “straight back into repayment.”231

         195. ZB did not apply for IDR until October 2015. She was approved on

October 6, 2015.232

         196. ZB did not renew her IDR plan the next year. She applied for another

unemployment deferment.233

         197. The unemployment deferment application she signed stated “[i]nstead

of deferment, I may be eligible for a repayment plan that determines my monthly

payment amount based on my income.”234




230
      Ex. 53 at 185:23–186:22, 194:21–197:21; Ex. 56 at *6 (lines 3–24), *10–21.
231
      Ex. 56 at *6 (line 23) through *7 (line 23).
232
      Id. at *24; Ex. 53 at 197:22–199:20; Ex. 57 at -6879.
233
      Ex. 53 at 199:25–202:6; Ex. 56 at *25–26.
234
      Ex. 53 at 200:20–203:14; Ex. 56 at *26.


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         198. In January 2017, a Navient representative recommended that ZB re-

apply for IDR, stating, “you would still want to get back on the income-based

program so that when [your loans] go into repayment, you’ll have a payment based

on your income and your family size.”235 ZB applied and was approved until July

25, 2018.236

         199. When asked at her deposition, ZB did not know that she was currently

enrolled in IDR.237

         200. ZB submitted a sworn declaration in which she stated “[f]rom 2010

through 2014, the only repayment option that Sallie Mae offered was

forbearance.”238 ZB testified in her deposition that this statement was not correct,

stating, “[n]ow that we’re sitting here reading these letters, the letters say that I was

offered more than that.”239

               3.      LF
         201. LF received information about IDR on multiple occasions.240




235
      Ex. 53 at 204:3–207:5; Ex. 56 at *32 (line 23) through *33 (line 7).
236
      Ex. 56 at *40.
237
      Ex. 53 at 13:20–14:8.
238
      Ex. 58 ¶ 9.
239
      Ex. 53 at 151:7–155:8.
240
      Infra ¶¶ 202–204, 207–08, 212–214.


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         202. When LF took out FFELP loans in 2006, she signed a promissory note

describing IDR.241

         203. On January 20, 2009, when she was scheduled to begin repaying her

loans, Navient sent LF a letter stating that Navient “offers several repayment

options that help make student loan payments more manageable,” including

“[p]ayments that are tied to your income.”242

         204. From 2009 through 2014, she received information about IDR at least

eighteen times.243

         205. LF does not remember the repayment options that she discussed with

Navient representatives from 2009 to 2014.244

         206. LF requested and received several forbearances online without

speaking to a Navient representative.245

         207. On April 23, 2015, a Navient representative discussed repayment

options with LF and “pre-qualified” her for the “income-based repayment




241
      Ex. 59 at 50:24–55:17; Ex. 60 at *1–9.
242
      Ex. 59 at 58:14–60:21; Ex. 60 at *10–13.
243
      Ex. 60 at *18–20, *24–26, *31–36, *45; Ex. 61 at *4–29.
244
      Ex. 59 at 173:11–175:24, 84:14–85:8, 96:10–12, 86:12–20.
245
      Ex. 59 at 77:7–82:3, 94:17–95:21; Ex. 60 at *22–23, *43–44.


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program,” explaining that her payment under this plan could be as low as “zero

dollars.”246

         208. The representative applied a forbearance to cover past-due amounts

and sent LF an IDR application.247

         209. LF did not apply for IDR at that time.248

         210. On July 15, 2015, LF called Navient to request another forbearance to

bring her loans current so that she could apply for an apartment.249

         211. After asking LF questions about her income and family size, the

representative approved a forbearance until December 2016.250

         212. In January 2016, LF again contacted Navient and asked to “defer [her]

loan.” The representative offered to “pre-qualify [LF] for other options.” Based

on the financial information LF provided, the representative informed her that she

“may be eligible to have a zero [dollar] payment for 12 months and that’s

renewable every year.”251




246
      Ex. 59 at 122:14–123:14; Ex. 61 at *32 (line 25) through *34 (line 7).
247
      Ex. 59 at 125:13–128:10; Ex. 61 at *34 (lines 5–24).
248
      Ex. 59 at 133:3–16.
249
      Id. at 130:19–134:19; Ex. 61 at *38 (line 4) through *39 (line 10).
250
    Ex. 59 at 133:17–134:19; Ex. 61 at *39 (line 14) through *40 (line 16), *46
(line 24) through *47 (line 3).
251
      Ex. 59 at 137:24–140:17; Ex. 62 at *5 (line 7) through *8 (line 7).


                                            47
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         213. LF responded that she was interested in this plan. The representative

sent LF IDR application instructions, processed a forbearance to cover the past-due

amounts, and applied a forbearance to give LF time to apply for IDR.252

         214. LF submitted the application in February 2016 and was approved that

month.253

         215. Even with the reduced monthly payment amount under an IDR plan,

LF missed her payments on several occasions.254

                4.    KR

         216. KR consolidated his FFELP loans in 2005 and selected a standard

repayment plan instead of IDR.255

         217. Soon after, he defaulted on his federal student loans in 2005 and

2006.256

         218. KR testified that repaying his student loans was a lower priority than

other expenses.257




252
      Ex. 62 at *1–3, *8 (line 2) through *11 (line 5).
253
      Ex. 59 at 143:8–23; Ex. 62 at *13–14.
254
      Ex. 59 at 144:5–146:14; Ex. 62 at *15–20.
255
      Ex. 64 at 63:7–64:12, 65:18–66:21, 101:22–102:10; Ex. 65 at *1–7.
256
      Ex. 70 at *10, *12, *14, *16, *19.
257
      Ex. 64 at 172:10–174:24.


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         219. After KR completed federal loan rehabilitation, Navient began

servicing his federal loans.258

         220. Navient frequently attempted to reach KR. He ignored several phone

calls.259 When he did answer, on several occasions, he prevented representatives

from discussing his loans by refusing to provide identifying information,260

verbally abusing them,261 or hanging up.262

         221. In one instance, on June 28, 2012, KR called the representative a

“stupid b**ch” before asking what options were available.263

         222. The representative responded that KR could “possibly apply[] for

income-based repayments.” KR interrupted the representative and asked for

someone “more competent.”264




258
      Ex. 64 at 74:5–76:10; Ex. 69 at *30.
259
      See, e.g., Ex. 71 at -6361, -6369, -6373, -6391, -6440.
260
    See, e.g., Ex. 64 at 146:2–151:17, 152:17–154:2, 195:4–197:15, 279:24–281:23;
Ex. 66 at *16 (line 1) through *20 (line 10); Ex. 67 at *15 (line 1) through *17
(line 12), *38 (lines 1–18); Ex. 69 at *19 (line 1) through *24 (line 17).
261
      See infra ¶¶ 221–24.
262
      Ex. 64 at 212:10–22; Ex. 67 at *27 (line 17) – *28 (line 2).
263
      Ex. 64 at 221:24–222:2; Ex. 67 at *39 (lines 1–10).
264
      Ex. 64 at 222:25–223:7; Ex. 67 at *39 (lines 11–18).


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         223. After the representative again offered IDR as an option,265 KR

responded, “Look, b**ch, I don’t want to talk to you.”266

         224. On at least ten other calls, KR referred to the agents as “b**ch,”

“dumbass,” and other profanities.267

         225. Navient sent KR information about IDR on multiple occasions.268

         226. From June 2009 to June 2013, he received more than 50 delinquency

notices offering IDR.269 KR often received forbearances to cover the past-due

amounts.270

         227. On September 10, 2013, when Navient warned him that he was

approaching default during a phone call, KR laughed.271

         228. He again defaulted.272




265
    Ex. 64 at 223:21–224:18, 227:24–228:6; Ex. 67 at *39 (line 19) through *40
(line 5).
266
      Ex. 64 at 230:6–10; Ex. 67 at *40 (lines 2–9).
267
    Ex. 72 at -6047, -6052, -6055, -6068, -6142, -6204, -6658, -6663, -6665, -6666,
-6668.
268
    Infra ¶ 226.
269
    Ex. 65 at *8–9, *11–36; Ex. 66 at *1–14, *38–43; Ex. 67 at *1–13, *30–36; Ex.
68 at *1, *5–46; Ex. 69 at *1–10.
270
      Ex. 65 at *10; Ex. 66 at *44–46; Ex. 68 at *2–4.
271
      Ex. 69 at *27 (line 9) through *28 (line 8).
272
      Ex. 64 at 71:8–73:16; Ex. 69 at *32.


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VI.      NAVIENT’S PROCEDURES

         229. Navient’s procedures and training materials state in a red box that

“Forbearance should not be considered until all other options have been

exhausted.”273

         230. Collections representatives have used an online tool that guided them

“to ask specific questions designed to determine the best option for the borrower

based on their current situation.”274

         231. Navient has multiple processes for monitoring and listening to

representatives’ phone calls with borrowers to check whether representatives

discuss repayment options based on a borrower’s financial circumstances.275

         232. When Navient identifies a call where a representative does not discuss

appropriate repayment options, Navient’s practice has been to coach the

representative and contact the borrower to discuss available options, including IDR

plans where appropriate.276

         233. A Navient supervisor testified that the call with JB was not consistent

with the Company’s policies and practices: he stated that the representative on the


273
      Ex. 73 at -0510; Ex. 74.
274
      Ex. 75 at -8302.
275
   See, e.g., Ex. 76 at 62:22–66:14, 85:10–12, 89:15–93:15; Ex. 77 at 34:10–17,
93:9–94:8, 99:22–100:1; Ex. 78 at 48:24–49:25.
276
      Ex. 76 at 66:4–25, 203:15–204:4; Ex. 79 at 186:14–187:10, 188:21–190:8.


                                           51
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call with JB should have discussed IDR, and that the supervisor would have

provided coaching to the representative had he listened to the call during Navient’s

regular call monitoring.277




277
      Ex. 80 at 169:9–173:25.


                                         52
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Dated: January 17, 2019       Respectfully submitted,


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                         CERTIFICATE OF SERVICE


      I hereby certify that on January 17, 2019, I filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to all counsel of record who are deemed to have consented to electronic

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